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                                                                                   2024 Jun-10 PM 05:35
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA



                    In the United States District Court for the
                 Northern District of Alabama, Southern Division

SMATrealestate, LLC,
East West Homes, LLC, and
Earline’s Homes, LLC,
  Plaintiffs,
                                                         2:24-CV-00630
                    v.
                                                        JURY DEMAND
Constitution Credit, LLC
Constitution CR LLC
REO Lend I LLC and
Ricardo Sims,
   Defendants.


                PLAINTIFFS’ FIRST AMENDED COMPLAINT


      Plaintiffs SMATrealestate, LLC, East West Homes, LLC, and Earline’s

Homes, LLC file this Complaint against Defendants Constitution Credit, LLC,

Constitution CR LLC, REO Lend I LLC, and Ricardo Sims.




                                JURISDICTION
1)    This Court has jurisdiction as a result of the diversity of the parties and the

amount in controversy exceeding $75,000 pursuant to 28 U.S.C. § 1332.
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                                   PARTIES
2)    Plaintiff SMATrealestate, LLC (“SRE”) is a Limited Liability Company

formed in Alabama, whose principal place of business is in Jefferson County,

Alabama.


3)    Plaintiff East West Homes, LLC (“East West”) is a Limited Liability

Company formed in Alabama, whose principal place of business is in Jefferson

County, Alabama.


4)    Plaintiff Earline’s Homes, LLC (“Earline’s Homes”) is a Limited Liability

Company formed in Alabama whose principal place of business is in Jefferson

County, Alabama.


5)    Defendant Constitution Credit, LLC (“Constitution”) is a Limited Liability

Company formed in Connecticut registered to do business in Alabama.


6)    Defendant Constitution CR LLC is an adjacent Limited Liability Company

to Constitution above and is listed on some of the lending documents. Constitution

CR LLC’s exact role is undetermined.


7)    Defendant REO Lend I LLC is a Limited Liability Company formed in

Connecticut.




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8)    Defendant Ricardo Sims (“Sims”) is an individual resident of Boca Raton,

Florida.




                               RELEVANT FACTS
9)    Jeremy Head and Mervet Taha operate a number of business entities that

they use for the purposes of acquiring, renovating, and selling residential

properties.


10)   Of the entities that they use in this business, SMATrealestate, LLC, East

West Homes, LLC, and Earline’s Homes, LLC are at issue in this proceeding.


11)   Beginning as early as November 2021, Head and Taha began working with

Constitution for the purposes of acquiring financing for residential rental

properties.


12)   From November 2021 through 2023, Head and Taha acquired and referred

dozens of loans with Constitution for their residential property acquisition

business.


13)   Over this same period, Head and Taha communicated extensively and

directly with Constitution’s President, Ricardo Sims, often via text message.




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14)   The properties at issue in this case involve those located at 316 Cross Ridge

Road, 12 4th Avenue Southwest, 640 Maupas Avenue, and 7727 Rugby Avenue, as

more fully described below (each a “Property” and together the “Properties”).


15)   In 2023, relations between Head and Taha, on the one hand, and Sims, on the

other, as well as indirectly through their various entities, started to degrade as

communications from Sims and, by extension, Constitution became increasingly

infrequent and inconsistent.


16)   Towards the end of 2023, Head and Taha attempted to resolve and close their

accounts and mortgages regarding the Properties with Constitution by requesting

payoff statements of what their businesses owed Constitution.


17)   These communications were often directed to Ricardo Sims via email, phone

call, and text message.


18)   Despite receiving written requests for payoff statements, Constitution failed

to respond to requests in a timely manner and provided inaccurate information

regarding the payoff process.


19)   As a result of Constitution’s delay Head and Taha lost opportunities to

refinance and a willing and able buyer for the Cross Ridge property.




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20)   On finally issuing payoff statements, Constitution erroneously or

fraudulently added expenses and fees that were not permitted under the respective

mortgage agreements.


21)   Constitution also assessed fees that were barred by Alabama law.


22)   The result of these erroneous and fraudulent inflated fees, Head’s and Taha’s

companies were unable to satisfy the mortgages because they far exceeded the

offers they received.


23)   On January 25, 2024, Sims formed REO Lend I LLC by filing a certificate

of organization with the Secretary of the State of Connecticut.


24)   Sims intended to use REO Lend I LLC, which he owned completely, in

order to take possession and ownership of the Properties.


25)   On February 20, 2024, Kyle O’Hehir, co-founder of Constitution bragged on

X (formerly Twitter):




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26)   Constitution then noticed the wrongful foreclosure of three of Head and

Taha’s properties in Alabama and one in Georgia.


27)   The noticing of all four properties was in breach of at least one of the

contracts on the Properties, as at least one of the Properties were not in default.


28)   The contract on 12 4th Avenue Southwest was not in default.


29)   The contract on 640 Maupas Avenue was not in default.


30)   The contract on 7727 Rugby Avenue was not in default.


31)   There was no agreement between the Properties that would permit

foreclosing on all of the Properties as a result of a default in one of the subject

contracts.


32)   In short, these Properties were not “cross-collateralized.”


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A.        Constitution’s Business Model
33)       Constitution is not a licensed bank.


34)       Constitution carries no license federally or in the State of Alabama that

permits them to loan money in Alabama.


35)       Constitution’s business model involves buying distressed debt and

immediately forcing those properties into foreclosure.


36)       Additionally, Constitution profits from advertising to and loaning out money

to the public at large, as if they were a licensed bank.


37)       Constitution also advertises that its accounts are “FDIC insured.”


38)       Constitution is not and has never been registered or insured with the Federal

Deposit Insurance Corporation.


39)       Constitution’s co-founder, Kyle O’Heir, has bragged that they will buy

distressed debt in non-judicial foreclosure states like Alabama and foreclose, often

in as little as a week.1


40)       Constitution’s strategy was to get the property subject to the mortgage

through a deed-in-lieu-of-foreclosure, regardless of the status of the underlying


1
    https://www.youtube.com/watch?v=60UNSKnGOeM


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loan. On February 12, 2024, Constitution’s co-founder, Kyle O’Hehir posted on X

(formerly known as Twitter) asking for “straightforward alabama foreclosure

counsel.”


41)   O’Hehir’s post made it clear that Constitution had no intention of working

with the Plaintiffs to resolve any of the issues in Constitution’s payoff statements

but instead intended to foreclose on the properties despite the clear problems in the

statements.


42)   On March 2, 2024, O’Hehir posted to X again, this time with a detailed

overview of how Constitution operates.


43)   Of particular note, O’Hehir said the following:


      𝗧𝗛𝗘 𝗨𝗡𝗗𝗘𝗥𝗪𝗥𝗜𝗧𝗘

      Another important point: no one reads loan docs

      The bank provided us with their estimate of the payoff

      We calculated own payoff after reading through the loan docs

      Below is the conservative math (simplified and rounded for your
      viewing pleasure)




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      By reading the loan docs we found another 30k the bank had left on
      the table with their friendlier number

      based on our 310k purchase price and the 1.75mm estimate of the
      collateral value, we are getting in at ~18% loan-to-value


44)   In this particular deal, Constitution somehow “found another” thirty

thousand dollars ($30,000.00) that could be charged against the debtor that the

original bank had somehow “left on the table.”


45)   In this situation, this somehow increased the actual debt on the loan by a full

ten percent (10.00%) overnight.


46)   This tactic is only permissible if the payoff statements included fees that

were contracted to and reasonable, but the reality is that Constitution falsifies and

unnecessarily incurs expenses to increase the payoffs they require of debtors in



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order to first force the properties into default and then to acquire them through

subversive means.


47)   Constitution uses this tactic to drive up the costs of satisfying and redeeming

properties that they allege are in default in order to force the properties to sell.


48)   Constitution ratchets up the debt on the properties to such a high degree that

the only reasonable option for the debtor is to sell the property to Constitution to

avoid losing equity they have in the property or otherwise having a deficiency

foreclosure on their credit history.


49)   Constitution usually offers a “deed in lieu of foreclosure,” essentially

agreeing to waive any of the principal, accrued interest, fees, or costs in exchange

for the underlying asset, here the real property.


50)   Constitution only offers these deeds-in-lieu, waiving the fees and expense

reimbursement that they are otherwise allegedly due, only because Constitution

was not entitled to these fees and/or did not actually incur these expenses.


51)   If a property has nominal equity or is already underwater (i.e. the debt on the

property exceeds what it is worth on the open market), this arbitrarily inflated debt

payoff means that the only practical buyer is Constitution, as a sale to any third

party would require paying off Constitution’s debt first to convey clear title.


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B.     316 Cross Ridge Road
52)    On February 17, 2023, SRE entered into an agreement in which Constitution

would loan SRE $622,500.00


53)    In consideration of this loan, SRE provided a mortgage to Constitution on

the property located at 316 Cross Ridge Road Mountain Brook, AL 35213.


54)    As additional collateral, Head and Taha secured this agreement with their

interests in SRE.


55)    This agreement is memorialized in the “Pledge and Security Agreement”

(the “316 Agreement”) signed by the SRE’s representative Mervet Taha.


56)    The Agreement called for an interest rate of 12% to be increased to 24%

upon the failure to make one full payment.


57)    In April 2023, Plaintiffs made its first payment on the Cross Ridge property

and these payments, including the arbitrary and unconscionable fees, continued

through October 2023. (Exhibit B).


58)    In November 2023, Constitution advised Plaintiffs “not to worry about

payment” due to Constitution taking the money from other income streams related

to Plaintiffs.




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59)   After telling Plaintiffs not to worry about the payments, a statement that

Plaintiffs relied on, Constitution failed to respond to numerous communications

from Plaintiffs.


60)   In January 2024, Constitution informed Plaintiffs that, in spite of saying to

not worry about the loan due to the payments being taken from other sources, the

Cross Ridge loan was delinquent.


61)   On January 10, 2024, SRE requested a statement of the current loan balance,

plus any applicable fees and expenses (a “payoff statement”) so that it could satisfy

the loan.


62)   On January 16, 2024, having still not received a payoff statement, SRE again

requested a payoff statement for 316 Cross Ridge Road.


63)   On January 16, 2024, Sims, on behalf of Constitution, sent a payoff

statement to SRE with a payoff amount of $721,007.68.


64)   The January 16, 2024 contained unauthorized fees and reimbursements, such

as a “payoff fee” and a “flood re-cert.”


65)   The 316 Agreement did not permit Constitution to charge a “payoff fee” and

there was no basis for a “flood re-cert.”




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66)   On January 17, 2024, the following day, Constitution sent SRE a

forbearance offer in relation to the foreclosure sale.


67)   On February 28, 2024, Sims issued another payoff statement for 316 Cross

Ridge, this time demanding to be paid $807,300.84.


68)   In 43 days, the amount Constitution was demanding to be paid had increased

by $86,293.16.


69)   The February 28 payoff statement included a number of fraudulent charges

for which Constitution was seeking reimbursement, including but not limited to

“forced placed insurance,” reimbursement for property taxes that were not yet due,

an administrative fee for paying the property taxes that were not yet due, legal

costs when Constitution had not retained a lawyer.


70)   The February 28 payoff statement included other fees and charges that were

not permitted or agreed to in the 316 Agreement.


71)   On March 21, 2024, REO Lend I LLC sent a Notice of Acceleration and

Foreclosure to SRE regarding the 316 Cross Ridge property.


72)   SRE has never had an agreement of any kind or sort with REO Lend I LLC.




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73)   On March 22, 2024, the next day, SRE, through counsel, sent an email to

Defendants’ counsel contesting the basis for the foreclosure and the fees being

assessed. SRE also requested documents supporting Constitution’s expense

reimbursements.


74)   At the time of filing, Defendants have refused to produce even a single

invoice or receipt supporting their expense reimbursements.


75)   At the time of filing, REO Lend I LLC has refused to provide documentation

showing that it is the mortgagee on the 316 Cross Ridge property.




C.    12 4th Avenue Southwest
76)   On January 21, 2022, East West Homes, LLC executed a Note and Loan

agreement for the purchase of a property located at 12 4th Avenue Southwest

Birmingham, AL 35211 (the “12 4th Agreement”).


77)   The 12 4th Agreement included a note for $72,000 payable over 30 years, to

be due on February 1, 2052 with equal monthly payments until that date.


78)   During all times, East West has made the monthly payments as provided in

the 12 4th Agreement.




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79)   On November 6, 2023, East West requested a payoff statement for 12 4th

Avenue Southwest, as it was considering refinancing the property.


80)   On November 8, 2023, Sims, on behalf of Constitution, issued to East West

a payoff statement in the amount of $75,604.50.


81)   On February 28, 2024, Sims provided another payoff statement in the

amount $98,954.37.


82)   In 112 days, the amount Constitution was demanding to be paid had been

increased by $23,349.87, a 30.9% increase in the original demand.


83)   Further, the payoff statement received was filled with errors or outright

fraudulent, such as but not limited to charging a 16% interest rate, despite a 6%

agreed-on rate, as well “accrued late charges.”


84)   The February 28 payoff statement included other fees and charges that were

not permitted or agreed to in the 12 4th Agreement.


85)   On March 21, 2024, REO Lend I LLC sent a Notice of Acceleration and

Foreclosure to East West regarding the 12 4th Ave property.


86)   The 12 4th Agreement has not been breached by East West in any way, as it

has continued to make payments under the mortgage and note.



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87)    East West has never had an agreement of any kind or sort with REO Lend I

LLC.


88)    On March 22, 2024, the next day, East West, through counsel, sent an email

to Defendants’ counsel contesting the basis for the foreclosure and the fees being

assessed. East West also requested documents supporting Constitution’s expense

reimbursements.


89)    At the time of filing, Defendants have refused to produce even a single

invoice or receipt supporting their expense reimbursements.


90)    At the time of filing, REO Lend I LLC has refused to provide documentation

showing that it is the mortgagee on the 12 4th Ave property.




D.     640 Maupas Avenue
91)    On November 3, 2023, Earline’s Homes, LLC acquired the property located

at 640 Maupas Avenue, Savannah, Georgia, 31401, subject to a loan that was on

that property held by Constitution (“640 Maupas”).


92)    As early as November 29, 2023, Earline’s Homes had requested a payoff on

640 Maupas.




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93)   Earline’s Homes did not receive a payoff statement on 640 Maupas until

January 19, 2024, which listed the payoff as of January 31, 2024, to be

$314,486.83.


94)   The significant delay between Earline’s Homes’s initial request for a payoff

and the January 19, 2024 payoff statement resulted in the accrual of additional

interest and fees, as well as the loss of opportunities for Earline’s Homes to sell or

refinance the property.


95)   Sims’s taking of the 640 Maupas property would have not only been against

the interest of Constitution, for whom he has a fiduciary duty, but would have been

in furtherance of his own purposes, as Sims communicated to Plaintiffs that he

wanted the 640 Maupas property as a place for his girlfriend to live.


96)   Sims then sent another payoff on February 28, 2024, which listed the total

amount owed as $414,699.62, an additional $100,212.79 owed in less than 30

days, which increase the amount owed by over 31% in a month’s time.


97)   Again, many of these charges were unsupported or otherwise outright

fraudulent, as Constitution could provide no proof that it had incurred these

expenses or was otherwise entitled to reimbursement.




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98)   The February 28 payoff statement included a number of fraudulent charges

for which Constitution was seeking reimbursement, including but not limited to

“forced placed insurance,” reimbursement for property taxes that were not yet due,

an administrative fee for paying the property taxes that were not yet due, legal

costs when Constitution had not retained a lawyer.


99)   The February 28 payoff statement included other fees and charges that were

not permitted or agreed to in the 640 Maupas Agreement.


100) On March 21, 2024, REO Lend I LLC sent a Notice of Acceleration and

Foreclosure to Earline’s Homes regarding the 640 Maupas property.


101) The 640 Maupas agreement is not in default, as Earline’s Homes has

continued to make payments according to the agreement.


102) Earline’s Homes has never had an agreement of any kind or sort with REO

Lend I LLC.


103) On March 22, 2024, the next day, Earline’s Homes, through counsel, sent an

email to Defendants’ counsel contesting the basis for the foreclosure and the fees

being assessed. Earline’s Homes also requested documents supporting

Constitution’s expense reimbursements.




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104) At the time of filing, Defendants have refused to produce even a single

invoice or receipt supporting their expense reimbursements.


105) At the time of filing, REO Lend I LLC has refused to provide documentation

showing that it is the mortgagee on the 640 Maupas property.




E.      7727 Rugby Avenue
106) On or about March 7, 2023, East West Homes LLC refinanced the property

located at 7727 Rugby Avenue, Birmingham, Alabama 35206.


107) Constitution was the lender to East West in that transaction.


108) Like 12 4th Avenue SW, the 7727 Rugby Avenue mortgage was a 30-year

note.


109) Like 12 4th Avenue SW, East West has continued to make payments on the

mortgage and note, which are not in default.


110) On November 9, 2023, Sims, on behalf of Constitution, gave Plaintiffs an

unsolicited payoff statement that represented the payoff amount to be $142,500.


111) Despite never asking for a payoff, Sims again provided a yet another payoff

statement on February 28, 2024 in an amount of $185,786.07. (Exhibit I).



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112) The February 28 payoff statement included a number of fraudulent charges

for which Constitution was seeking reimbursement, including but not limited to

“forced placed insurance,” reimbursement for property taxes that were not yet due,

an administrative fee for paying the property taxes that were not yet due, legal

costs when Constitution had not retained a lawyer.


113) The February 28 payoff statement included other fees and charges that were

not permitted or agreed to in the 7727 Rugby Agreement.


114) Despite this property not being in default, and with no prior notice,

Constitution noticed the acceleration and foreclosure of this property on March 12,

2024.


115) East West has never had an agreement of any kind or sort with REO Lend I

LLC.


116) On March 22, 2024, the next day, East West, through counsel, sent an email

to Defendants’ counsel contesting the basis for the foreclosure and the fees being

assessed. East West also requested documents supporting Constitution’s expense

reimbursements.


117) At the time of filing, Defendants have refused to produce even a single

invoice or receipt supporting their expense reimbursements.


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118) At the time of filing, REO Lend I LLC has refused to provide documentation

showing that it is the mortgagee on the 7727 Rugby Avenue property.




                             CAUSES OF ACTION
119) For the following Claims, Plaintiffs adopt and incorporate by reference the

allegations in the Parties and Relevant Facts sections above.




COUNT I.            Breach of Contract
120) Plaintiffs and Constitution had a contract between them for a security

agreement involving a loan in exchange for collateral.


121) Constitution breached the contract by charging arbitrary fees and collecting

those fees in violation of the Agreement.


122) As a result, Plaintiffs has suffered hundreds of thousands of dollars in

damages.


     WHEREFORE, Plaintiffs demands judgment for compensatory damages, plus

interest, the costs of this action, and reasonable attorney’s fees. Plaintiffs further

demands punitive damages for the Constitution’s fraud in connection with this

matter.




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COUNT II.           Breach of Contract II
123) Defendants breached the contract when it accelerated the loan and initiated

foreclosure based on Plaintiffs failing to pay fraudulent invoices.


124) Defendants have refused to provide substantiating documentation, deeds,

mortgages, assignments, receipts, invoices, and other items that prove they are

entitled to the reimbursement of those fees.


125) Despite notice and objection to these fees and expenses, Defendants pressed

forward with foreclosure proceedings on all four Properties, despite only one being

arguably in default.


126) As a result, Plaintiffs has suffered hundreds of thousands of dollars in

damages.


     WHEREFORE, Plaintiffs demands judgment for compensatory damages, plus

interest, the costs of this action, and reasonable attorney’s fees. Plaintiffs further

demands punitive damages for the Constitution’s fraud in connection with this

matter.




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COUNT III.          Unjust Enrichment
127) In the alternative, and should the contracts be found to be unenforceable,

Constitution has unjustly enriched itself by charging Plaintiffs unconscionable fees,

accepting those fees when paid, and providing no value in return for those

payments.


128) As a result, Plaintiffs has suffered hundreds of thousands of dollars of

damages.


     WHEREFORE, Plaintiffs demands judgment for compensatory damages, plus

interest, the costs of this action, and reasonable attorney’s fees. Plaintiffs further

demands punitive damages for the Constitution’s fraud in connection with this

matter.




COUNT IV.           Fraudulent Misrepresentation
129) In this case, Constitution represented the fees that it would charge Plaintiff

in the Agreement.


130) Plaintiffs relied on the representation of the fees that would be charged and

paid the fraudulent fees out of an abundance of caution.




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131) As a result, Plaintiffs has suffered hundreds of thousands of dollars in

damages.


     WHEREFORE, Plaintiffs demands judgment for compensatory damages, plus
interest, the costs of this action, and reasonable attorney’s fees. Plaintiffs further
demands punitive damages for the Constitution’s fraud in connection with this
matter.



COUNT V.               Fraudulent Suppression
132) As a party to the contract, Constitution had a duty to disclose all the fees that

it would charge Plaintiffs in relation to the Agreement, but Constitution did not

disclose these fees.


133) Plaintiffs was unaware that the fees not mentioned in the agreement would

be charged.


134) As a result, Plaintiffs has suffered hundreds of thousands of dollars in

damages.


     WHEREFORE, Plaintiffs demands judgment for compensatory damages, plus

interest, the costs of this action, and reasonable attorney’s fees. Plaintiffs further

demands punitive damages for the Constitution’s fraud in connection with this

matter.



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COUNT VI.           Usury
135) In Alabama, the maximum interest rate for contractual agreements at is set

by statute.


136) The Agreement set the interest rate at 12% with an increase to 24% upon a

missed payment, both well above 8%.


137) As laid out in §8-8-12(b), “The borrower of money at a usurious rate of

interest shall not in any case be required to pay more than the principal sum

borrowed, and if any interest has been paid, the same must be deducted from the

principal and judgment entered for the balance only” Ala. Code § 8-8-12.


138) Furthermore, usury cannot be avoided by calling the charges something else

like a fee or premium.


139) As required by the code, due to the contract being usurious, Plaintiffs’

interest and fee payments should be applied to the principal of the Agreement.


      WHEREFORE, Plaintiffs demands this Court to render judgment in favor of

Plaintiffs and restructure the Agreement in accordance with Ala. Code § 8-8-12 by

imputing all payments Plaintiffs has paid Constitution in relation to the Agreement

toward the principal, including any interest or fees.




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COUNT VII.          Violation of Alabama Code § 35-10-91
140) Ala. Code §35-10-91(a) dictates that “a person liable for payment or

performance of the obligation secured by the real property described in a security

instrument who makes proper notice pursuant to this section shall be entitled to

receive a payoff statement.” Ala. Code § 35-10-91.


141) Plaintiffs did not receive timely payoff statements for the Properties, as

described above.


142) As a result, Plaintiffs suffered damages due to lost sellers and failure of the

ability to refinance, all while Defendants continued to profit from their delay by

continuing to charge interest, accrue expenses for which they sought

reimbursement, and other fees.


143) WHEREFORE, Plaintiffs demand that Defendants be found in violation of

Alabama Code § 35-10-91 and award to Plaintiffs such damages as is appropriate

by law.




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                           PRAYER FOR RELIEF
      WHEREFORE, the above premises considered, Plaintiffs SMATrealestate,

LLC, East West Homes, LLC, and Earline’s Homes respectfully request that this

Court enter judgment in their favor and against the Defendants Constitution Credit,

LLC, Constitution CR LLC, REO Lend I LLC, and Ricardo Sims, jointly and

severally, for the following:


   1. Injunctive relief preventing the foreclosure and/or sale of the subject

      Properties pending review;

   2. An accounting of all money alleged to be owed to Constitution by Plaintiffs,

      including supporting evidence;

   3. Rescission of the contracts on the subject Properties;

   4. Compensatory damages suffered by Plaintiffs because of Defendants’

      actions;

   5. Statutory damages as permissible by Alabama law;

   6. Punitive damages to prevent future behavior;

   7. Costs;

   8. Pre- and post-judgment interest; and

   9. Attorney’s fees.




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             PLAINTIFF DEMANDS JUDGMENT BY JURY.



                                  Respectfully submitted,

                                  /s/ Joseph E. “Tripp” Watson, III
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